
374 U.S. 489 (1963)
LAUGHNER
v.
WAINWRIGHT, CORRECTIONS DIRECTOR.
No. 712, Misc.
Supreme Court of United States.
Decided June 17, 1963.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF FLORIDA.
Petitioner pro se.
Richard W. Ervin, Attorney General of Florida, and A. G. Spicola, Jr., Assistant Attorney General, for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is vacated and the case is remanded for further consideration in light of Gideon v. Wainwright, 372 U. S. 335.
